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                         UNITED STATES DISTRICT COURT
                    FOR THE CENTRAL DISTRICT OF CALIFORNIA
                               WESTERN DIVISION

      ENVIRONMENTAL DEFENSE                     No. 2:16-cv-08418-PSG-FFMx
      CENTER, et al.,
                                                Hon. Philip S. Gutierrez
            Plaintiffs,
      v.                                        DEFENDANTS’ RESPONSE TO
                                                DEFENDANT-INTERVENOR DCOR,
      BUREAU OF OCEAN ENERGY                    LLC’S MOTION FOR PARTIAL
      MANAGEMENT, et al.,                       AMENDMENT OF JUDGMENT OR
                                                PARTIAL RELIEF FROM ORDER
            Defendants,
                                                Hearing Date: Apr. 29, 2019
      and                                       Hearing Time: 1:30 p.m.
      AMERICAN PETROLEUM INSTITUTE,
      et al.,
            Intervenor-Defendants.
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            DEFENDANTS’ RESPONSE TO DEFENDANT-INTERVENOR
      DCOR, LLC’S MOTION FOR PARTIAL AMENDMENT OF JUDGMENT
                   OR PARTIAL RELIEF FROM ORDER

           Federal Defendants maintain that there has been no violation of law and

     therefore no remedy is warranted, whether an injunction against future agency

     action or a requirement to perform a consistency determination pursuant to 16

     U.S.C. § 1456(c)(1). Notwithstanding this, Federal Defendants do not move for

     reconsideration or amendment of the judgment.

           With respect to the merits of DCOR’s motion, Federal Defendants take no

     position, as the underlying arguments turn primarily on DCOR’s specific business

     circumstances. However, Federal Defendants provide the following brief factual

     clarifications regarding the two Applications for Permits to Modify (“APMs”)

     referenced in DCOR’s motion.

           Regarding APM S-62, which DCOR submitted to the Bureau of Safety and

     Environmental Enforcement (“BSEE”) on December 6, 2016, BSEE previously

     asked the Bureau of Ocean Energy Management (“BOEM”) to review this APM to

     determine whether the activities proposed were described in DCOR’s existing

     Development and Production Plan (“DPP”) for the relevant project. See generally

     Defs.’ Motion to Dismiss, Dkt. No. 43, pp. 16-17; Decl. of M. Mitchell, Dkt. No.

     43-1 ⁋⁋ 9-13; January 19, 2017, Letter from BOEM to DCOR, Dkt. No. 43-1 Ex.

     1D. By letter dated January 19, 2017, BOEM determined that DCOR’s existing
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     DPP did not describe the activities proposed in APM S-62 and, accordingly,

     DCOR was required to submit and obtain BOEM approval of a supplemental DPP

     before BSEE can complete its review and issue a decision on APM S-62. January

     19, 2017, Letter from BOEM to DCOR, Dkt. No. 43-1 Ex. 1D. To date, DCOR

     has not submitted the required supplemental DPP to BOEM. Any supplemental

     DPP would undergo further analysis under the National Environmental Policy Act,

     and be subject to consultation under the Endangered Species Act and consistency

     certification review by the State of California pursuant to the Coastal Zone

     Management Act (16 U.S.C. § 1456(c)(3)), before it could be approved by BOEM.

     Id.

           Regarding APM S-28, which DCOR submitted to BSEE on January 10,

     2019, this APM seeks to conduct similar activities at the same platform under the

     same DPP as those described in APM S-62. Therefore, the requirement to submit

     a supplemental DPP also applies to, and precludes BSEE’s current processing of,

     APM S-28. Accordingly, and due to the application lacking sufficient information,

     on January 16, 2019, BSEE returned APM S-28 to DCOR without taking further

     action.

           Respectfully submitted this 25th day of March, 2019.

                                            JEAN E. WILLIAMS
                                            Deputy Assistant Attorney General
                                            Environment & Natural Resources Division
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                                        /s/ Joseph H. Kim
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                                CERTIFICATE OF SERVICE

           I, Joseph H. Kim, hereby certify that, on March 25, 2019, I caused the

     foregoing to be served upon counsel of record through the Court’s electronic

     service. I declare under penalty of perjury that the foregoing is true and correct.



     Dated: March 25, 2019                         /s/ Joseph H. Kim
                                                   JOSEPH H. KIM
